Case 1:04-cv-01067-.]_DT-STA Document 16 Filed 07/28/_05 Page 1 of 3 Page|D 15

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IN THE UNITED sTATEs DISTRICT COURT J(/( _
FoR THE wESTERN DISTRICT OF TENNESSEE 619 \o
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JENNIFER WLMBERLY ) fa;z_:, %
) /?/
Plaintiff, )
)
v. ) Case No. l-04-1067-T
) JURY DEMANDED
METHODIsT-LEBONHEUR )
HEALTHCARE FOUNDATION )
)
Defendant. )

 

STIPULATION AN]) ORDER OF DISMISSAL WITH PREJUDICE

 

Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiff and Defendant
Stipulate that this action be dismissed With prejudice, and it is therefore
ORDERED that this action be and is hereby DISMISSED With prejudice

44
ENTER: This 25 day of June, 2005.

 

 

Unit di States District Judge

This document entered on the docket sheet in compllance
with Rule 58 and,‘or,79 (a) FRCP on q

Case 1:04-cv-01067-.]`DT-STA Document 16 Filed 07/28/_95 Page 2 of 3 Page|D 16

STIPULATED TO:

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sTI .GILEERT
Th llbert Firm
2021 Greystone Park
P.O. Box 11357
Jackson, TN 38308
Telephone: (731) 664-1340
Facsimile: (731 664-1540
Counsel for Plaintiff

iam

AVID P. JAQUA( /\/\//

BUTLER, SNOW, 0 ARA, S'I`EVENS
& CANNADA, PLLC

Crescent Center, Suite 500

6075 Poplar Avenue

Memphis, Tennessee 38119

Telephone: (901) 680-7343

Facsimile: (901)680-7201

E-Mail: david.iaqua@butlersn.ow.com

Counsel for Defendants

MEMPH|S 165014\/|

UNITED

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
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Michael L. Russell

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson7 TN 38308

Jessica A. Neal

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC- Memphis
6075 Poplar Ave.

Ste. 500

Memphis7 TN 38119

David P. J aqua

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

Memphis7 TN 38119

Justin Gilbert

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson7 TN 38308

Honorable J ames Todd
US DISTRICT COURT

